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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

CANDACE ANDERSON,

                        Plaintiff,                                              Case Number 16-12873
                                                                                Honorable David M. Lawson
v.

TRANS UNION, LLC,

                  Defendant.
______________________________/

                                          ORDER OF DISMISSAL

         On May 25, 2017, the defendant filed a notice that the parties had reached a final settlement

of all claims in this matter. The case therefore will be dismissed.

         Accordingly, it is ORDERED that the case is DISMISSED WITH PREJUDICE. Any

party may apply to reopen the matter to enforce the settlement agreement on or before June 29,

2017.

                                                         s/David M. Lawson
                                                         DAVID M. LAWSON
                                                         United States District Judge

Dated: May 30, 2017


                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on May 30, 2017.

                                                            s/Susan Pinkowski
                                                            SUSAN PINKOWSKI
